                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              EASTERN DIVISION

                                     NO. 4:20-CR-78-Dl



   UNITED STATES OF AMERICA

       V.                                                      ORDER TO SEAL

   WILLIAM ROGER SWAIN, JR.




       On motion of the Defendant, William Roger Swain, Jr., and for good cause shown, it is

hereby ORDERED that DE 49 be sealed until further notice by this Court.

       IT IS SO ORDERED.

       This __J£_ day of October, 2021.




                                    United States District Judge




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